              Case 19-14648-amc                Doc        Filed 02/07/25 Entered 02/07/25 17:11:46                               Desc Main
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 Fill in this information to identify the case:

 Debtor 1              Dennis R. Morales

 Debtor 2              Ericka L Morales
 (Spouse, if filing)

 United States Bankruptcy Court for the : Eastern                  District of Pennsylvania
                                                                              (State)

 Case number           19-14648-amc



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor:             NEW RESIDENTIAL MORTGAGE LOAN                       Court claim no. (if known):         7
                               TRUST 2017-1

 Last four digits of any number you                 XXXXXX4871                     Date of payment change:
 use to identify the debtors’ account:                                             Must be at least 21 days after date of              3/1/2025
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any             $561.86

 Part 1:         Escrow Account Payment Adjustment

 1.     Will there be a change in the debtors’ escrow account payment?
         No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: __________________________________________________________
           ___________________________________________________________________________________________________
            Current escrow payment:          $ _______                                     New escrow payment :            $ _______

 Part 2:         Mortgage Payment Adjustment

 2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
        variable-rate account?
         No
         Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
           explain why: ___________________________________

              Current interest rate:                        10.50000%                      New interest rate:          9.50000%

              Current principal and interest payment:       $ 420.24                       New principal and interest payment:            $ 405.84

 Part 3:         Other Payment Change
 3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
         (Court approval may be required before the payment change can take effect.)


            Reason for change: ____________________________________________________________________________


            Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




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  Debtor 1             Dennis R. Morales                                             Case number (if known) 19-14648-amc
                      First Name Middle Name    Last Name


 Part 4:          Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

       I am the creditor.
       I am the creditor’s authorized agent

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.
  X    /s/Elizabeth Parrott                                                             Date     02/05/2025
       Signature

 Print:          Elizabeth                                           Parrott            Title    Authorized Agent for Creditor
                 First Name            Middle Name                   Last Name

 Company         McCalla Raymer Leibert Pierce, LLP

 Address         1544 Old Alabama Road
                 Number      Street
                 Roswell                       GA                     30076
                 City                          State                  ZIP Code

 Contact phone        678-277-4911                                                      Email    Elizabeth.Parrott@mccalla.com




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                                                         Bankruptcy Case No.: 19-14648-amc
  In Re:                                                 Chapter:             13
           Dennis R. Morales                             Judge:               Ashely M. Chan
           Ericka L Morales

                                    CERTIFICATE OF SERVICE

      I, Elizabeth Parrott, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

       That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Dennis R. Morales
3820 Palmetto Street
Philadelphia, PA 19124

Ericka L Morales
3820 Palmetto Street
Philadelphia, PA 19124
PHILADELPHIA-PA

MICHAEL A. CIBIK                                (Served via ECF at help@cibiklaw.com)
Cibik Law, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102

Scott F. Waterman, Trustee                      (Served via ECF Notification)
Chapter 13 Trustee
2901 St. Lawrence Ave., Suite 100
Reading, PA 19606

United States Trustee                           (Served via ECF Notification)
Office of the U.S. Trustee
Robert N.C. Nix Federal Building, Suite 320
Philadelphia, PA 19107

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Executed on:      02/07/2025        By:      /s/Elizabeth Parrott
                    (date)                    Elizabeth Parrott
                                              Authorized Agent for Creditor
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